                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                       No. 23-4297
                                                D.C. No.
             Plaintiff - Appellee,              9:18-cr-00009-DWM-2
 v.
                                                MEMORANDUM*
DEZMEN TAMIRE PATRON,

             Defendant - Appellant.

                   Appeal from the United States District Court
                           for the District of Montana
                   Donald W. Molloy, District Judge, Presiding

                           Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      Dezmen Tamire Patron appeals from the district court’s order denying his

motion for compassionate release under 18 U.S.C. § 3582(c)(1)(A)(i). We have

jurisdiction under 28 U.S.C. § 1291. Reviewing for abuse of discretion, see United

States v. Aruda, 993 F.3d 797, 799 (9th Cir. 2021), we affirm.


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
      Patron contends that the district court did not adequately address his

argument that, when considered in the aggregate, his medical issues, conditions of

confinement, youth, and sentence disparities warrant compassionate release.

Although the court did not discuss each of Patron’s contentions, the record reflects

that it understood its broad discretion and sufficiently considered his arguments

and circumstances. See United States v. Wright, 46 F.4th 938, 949 (9th Cir. 2022)

(the district court “is not required to exhaustively analyze every factor or to

expound upon every issue raised by a defendant”). Patron’s assertion that the

district court should have given less weight to the seriousness of the offense and

greater weight to his mitigating arguments is insufficient to establish that the court

abused its discretion. See id. at 948 (“Although Wright may take issue with the

balance the court struck, ‘mere disagreement’ with the weight of these factors

‘does not amount to an abuse of discretion.’”) (citation omitted). Finally, Patron

has not shown that the district court’s misstatement regarding the Guidelines range

had any effect on its decision to deny relief.

      AFFIRMED.




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